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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
RODNEY LAIL, et al.,                       )
                                           )
            Plaintiffs,                    )
                                           )
      v.                                   )  Civil Action No. 10-0210 (PLF)
                                           )
UNITED STATES, et al.,                     )
                                           )
            Defendants.                    )
__________________________________________)

                                               ORDER

               The complaint in this case was filed on July 31, 2009, but there is no record that a

copy of the complaint has been served on the defendants. Plaintiffs’ attention is directed to Rule

4(m) of the Federal Rules of Civil Procedures, which provides:

               If a defendant is not served within 120 days after the complaint is
               filed, the court – on motion or on its own after notice to the plaintiff –
               must dismiss the action without prejudice against that defendant or
               order that service be made within a specified time. But if the plaintiff
               shows good cause for the failure, the court must extend the time for
               service for an appropriate period.

The record does not show that the plaintiffs have satisfied Rule 4(m). Accordingly, it is hereby

               ORDERED that on or before July 2, 2010, the plaintiffs shall either (1) cause process

to be served on defendants and arrange for proof of that service to be filed with the Court, or (2) file

a status report with the Court explaining why service has not been made. If the plaintiffs fail to

comply with this Order by July 2, 2010, this action will be dismissed without prejudice.

               SO ORDERED.


                                              /s/_______________________________
                                              PAUL L. FRIEDMAN
                                              United States District Judge
DATE: June 21, 2010
